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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  ABERDEEN DIVISION

BOBBY L. SHED                                                                         PLAINTIFF


VERSUS                                                                 1:19cv203-GHD-RP
                                                             CAUSE NO. ____________________


STARKVILLE FORD-LINCOLN-MERCURY, INC.                                               DEFENDANT

                                                                    JURY TRIAL DEMANDED


                                          COMPLAINT


        This is an action to recover actual and punitive damages for violation of the Americans with

Disabilities Act. The following facts support this action:

                                                 1.

        Plaintiff BOBBY L. SHED is an adult resident citizen of 29 Greenwood Street, Starkville,

Mississippi 39759.

                                                 2.

        Defendant STARKVILLE FORD-LINCOLN-MERCURY, INC. is a Delaware corporation.

Defendant may be served with process upon its registered agent, C T Corporation System, 645

Lakeland East Drive, Suite 101, Flowood, Mississippi 39232. Defendant is an employer within the

meaning of the Americans with Disabilities Act.




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                                                  3.

        This Court has federal question jurisdiction under 28 U.S.C. § 1331, and civil rights

jurisdiction under 28 U.S.C. § 1343, and has jurisdiction under the Americans with Disabilities Act

Amendments Act ("ADAAA"), 42 U.S.C. § 12101, et. seq.

                                                  4.

        Plaintiff has filed an EEOC charge, attached hereto as Exhibit “A,” and has received the right

to sue letter, attached hereto as Exhibit “B.”

                                                  5.

        Plaintiff was employed by Defendant for nineteen (19) years. Plaintiff was a good worker

and would miss work only when physical illness or disability rendered him unable to work. In

September 2018, Plaintiff suffered a severe injury to his knee, which required surgery, and made him

unable to perform many ordinary life activities, such as walking, standing, and bending for a period

of three (3) weeks. Plaintiff was off work for three (3) weeks. In March 2018, Plaintiff had surgery

on his right testicle to remove buildup of fluid around the testicle.

                                                  6.

        Upon returning to work, Defendant informed Plaintiff he was terminated. Defendant claimed

the reason was he had missed too many days.

                                                  7.

        Additionally, Defendant falsely told the Equal Employment Opportunity Commission that

Plaintiff was discharged for failing to properly call in.




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                                                 8.

        In fact, Defendant fired Plaintiff because it was hostile to him because he had injuries

amounting to a disability, and resented his being off work due to having a record of a disability.

Although Plaintiff fully recovered after three (3) weeks, he had a record of disability, being unable

to perform any ordinary life activities for a period of three (3) weeks. Further, Defendant regarded

Plaintiff as having a disability.

                                                 9.

        Plaintiff was fired because he has a record of a disability and was regarded by Defendant as

having a disability.

                                                10.

        Plaintiff has suffered lost income and mental anxiety and stress as a result of Defendant’s

actions. Punitive damages are due because of the outrageous nature of Defendant’s actions.

                                    REQUEST FOR RELIEF

        Plaintiff requests actual and punitive damages, in an amount to be determined by a jury,

reinstatement, and reasonable attorneys’ fees, costs, and expenses.




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        RESPECTFULLY SUBMITTED, this the 19th day of November, 2019.

                                       BOBBY L. SHED, Plaintiff

                                 By:   /s/ Jim Waide
                                       Jim Waide, MS Bar No. 6857
                                       waide@waidelaw.com
                                       WAIDE & ASSOCIATES, P.A.
                                       332 North Spring Street
                                       Tupelo, MS 38804-3955
                                       Post Office Box 1357
                                       Tupelo, MS 38802-1357
                                       (662) 842-7324 / Telephone
                                       (662) 842-8056 / Facsimile

                                       ATTORNEY FOR PLAINTIFF




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